      Case 6:16-cv-01131-GTS-TWD Document 77 Filed 02/28/19 Page 1 of 6



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________

TIMOTHY J. TANNER,

                               Plaintiff,

v.                                                          6:16-CV-1131
                                                            (GTS/TWD)
DAVID J. HUMPHRIES, in his individual and
official capacities; and VILLAGE OF CAMDEN,

                        Defendants.
___________________________________________

APPEARANCES:                                                OF COUNSEL:

LAW OFFICE OF ZACHARY C. OREN                               ZACHARY C. OREN, ESQ.
 Counsel for Plaintiff
401 Rutger Street
Utica, New York 13501

LAW OFFICE OF DAVID A. LONGERETTA                           DAVID A. LONGERETTA, ESQ.
 Co-Counsel for Plaintiff
298 Genesee Street
Utica, New York 13502

MURPHY BURNS LLP                                            THOMAS K. MURPHY, ESQ.
 Counsel for Defendants
407 Albany Shaker Road
Loudonville, New York 12211

GLENN T. SUDDABY, Chief United States District Judge

                                      DECISION and ORDER

       Currently before the Court, in this civil rights action filed by Timothy J. Tanner

(“Plaintiff”) against David J. Humphries and the Village of Camden (“Defendants”), is

Defendants’ motion for reconsideration of the Court’s Decision and Order of January 3, 2019.

(Dkt. No. 70.) For the reasons set forth below, Defendants’ motion for reconsideration is

granted in part and denied in part.
      Case 6:16-cv-01131-GTS-TWD Document 77 Filed 02/28/19 Page 2 of 6



I.     RELEVANT BACKGROUND

       A.         Procedural History

       The Court issued its Decision and Order on Defendants’ motion for summary judgment

on January 3, 2019, dismissing with prejudice all of Plaintiff’s claims with the exception of his

Twelfth Claim against Defendant Humphries in his individual capacity for a violation of

Plaintiff’s right to counsel under the New York State Constitution. (Dkt. No. 68 [Decision and

Order filed Jan. 3, 2019].) The Court dismissed this remaining claim without prejudice to

refiling in state court, declining to exercise supplemental jurisdiction following dismissal of all

federal claims.

       B.         Parties’ Briefing on Defendants’ Motion for Reconsideration

                  1.    Defendants’ Memorandum of Law

       In their motion, Defendants argue that the Court erred in applying the tolling provision of

N.Y. C.P.L.R. § 215(8)(a) to the claims against Defendant Humphries in his individual capacity

and therefore those claims should also be found to be untimely. (Dkt. No. 70, Attach. 2, at 5-7

[Defs.’ Mem. of Law].) More specifically, Defendants argue that application of the tolling

provision was clearly erroneous because it applies only where the civil defendant was also a

defendant in a criminal action arising out of the same circumstances underlying the civil action.

(Id. at 6.) Defendants argue that, because Defendant Humphries was not a defendant in a

criminal proceeding related to the events underlying Plaintiff’s civil complaint, the tolling

provision of N.Y. C.P.L.R. § 215(8)(a) should not have been applied. (Id. at 6-7.)




                                                  2
      Case 6:16-cv-01131-GTS-TWD Document 77 Filed 02/28/19 Page 3 of 6



               2.      Plaintiff’s Opposition Memorandum of Law

       In opposition to Defendants’ motion, Plaintiff argues that Defendants’ argument is

immaterial because the Court should have applied the six-year period set forward in N.Y.

C.P.L.R. § 213(1) rather than the one-year period set forth in N.Y. C.P.L.R. § 215, and therefore

the tolling provision would not be relevant to this action. (Dkt. No. 73, at 4-5 [Pl.’s Opp’n Mem.

of Law].) More specifically, Plaintiff argues that N.Y. C.P.L.R. § 213(1) (which is the catch-all

clause that applies to any action that does not have a specifically defined statute of limitations)

applies to state constitutional claims because there is no specific statute of limitations for such

claims in the N.Y. C.P.L.R. (Id.) Plaintiff argues that his state law claims against Defendant

Humphries in his individual capacity are subject to the six-year statute of limitations in N.Y.

C.P.L.R. § 213(1) and are therefore timely. (Id. at 5.) Consequently, any error on the Court’s

part in determining the correct statute of limitations is harmless. (Id. at 4-5.)

II.    LEGAL STANDARD GOVERNING A MOTION FOR RECONSIDERATION

       Motions for reconsideration proceed in the Northen District of New York under Local

Rule 7.1(g) of the Court’s Local Rules of Practice. A court may justifiably reconsider its

previous ruling under three circumstances: (1) there is an intervening change in the controlling

law; (2) new evidence not previously available comes to light; or (3) it becomes necessary to

remedy a clear error of law or to prevent manifest injustice. Delaney v. Selsky, 899 F. Supp. 923,

925 (N.D.N.Y. 1995) (McAvoy, C.J.) (citing Doe v. New York City Dep't of Soc. Servs., 709

F.2d 782, 789 [2d Cir. 1983]). The standard for granting a motion for reconsideration is strict.

Shrader v. CSX Transportation, Inc., 70 F.3d 255, 257 (2d Cir. 1995). A motion for

reconsideration “should not be granted where the moving party seeks solely to relitigate an issue


                                                  3
       Case 6:16-cv-01131-GTS-TWD Document 77 Filed 02/28/19 Page 4 of 6



already decided.” Shrader, 70 F.3d at 257.1 Thus, a motion for reconsideration is not to be used

for “presenting the case under new theories, securing a rehearing on the merits, or otherwise

taking a ‘second bite at the apple.’” Sequa Corp. v. GBJ Corp., 156 F.3d 136, 144 (2d Cir.

1998).

III.     ANALYSIS

         After carefully considering the parties arguments, the Court grants Defendants’ motion

for reconsideration of its Decision and Order of January 3, 2019, to correct its error of law

related to the statute of limitations applicable to Plaintiff’s claims against Defendant Humphries

in his individual capacity. However, the Court denies Defendants’ motion to the extent that it

requests dismissal with prejudice of Plaintiff’s state law right-to-counsel claim because the error

committed by the Court was harmless.

         The Court acknowledges that it misapplied the tolling provision in N.Y. C.P.L.R. §

215(8)(A) for the reasons stated in Defendants’ memorandum of law. (See, supra, Part I.B.1. of

this Decision and Order.) However, this error does not entitle Defendants to the relief they seek

because N.Y. C.P.L.R. § 215 does not provide the correct statute of limitations for Plaintiff’s

right-to-counsel claim under the New York State Constitution.2 Having said that, the Court does


         1
               Generally, motions for reconsideration are not granted unless “the moving party
can point to controlling decisions or data that the court overlooked–matters, in other words, that
might reasonably be expected to alter the conclusion reached by the court.” Shrader, 70 F.3d at
257.
         2
               The Court notes that , because N.Y. C.P.L.R. § 215(3) is the correct statute of
limitations governing Plaintiff’s false arrest and malicious prosecution claims against Defendant
Humphries in his individual capacity, those claims must necessarily be found to be untimely in
the absence of the tolling provision, in addition to being unsupported by probable cause as
discussed in the Decision and Order of January 3, 2019. (Dkt. No. 68, at 29-33 [Decision and
Order filed Jan. 3, 2019].)

                                                 4
      Case 6:16-cv-01131-GTS-TWD Document 77 Filed 02/28/19 Page 5 of 6



not agree with Plaintiff’s argument that it should have applied the six-year statute of limitations

in N.Y. C.P.L.R. § 213(1) to that claim. In particular, the cases that Plaintiff relies on for that

point of law all involve either (a) a situation in which there was some sort of contract underlying

the action, or (b) a challenge to the validity or constitutionality of a legislative act. (Dkt. No. 73,

at 4-5 [Pl.’s Opp’n Mem. of Law].) Unlike those cases, Plaintiff’s claim alleges a direct

violation of his constitutional rights, without regard to a contract or legislative act. The Court

therefore does not find these cases to be applicable to the current circumstances.

       Additionally, although Plaintiff is correct that N.Y. C.P.L.R. § 213(1) applies where there

is no statute of limitations otherwise enumerated, New York courts have stated that actions for

constitutional torts fall under the ambit of N.Y. C.P.L.R. § 214(4) or (5), the sections related to

personal injury actions. See Brown v. New York, 681 N.Y.S.2d 170, 173 (N.Y. App. Div. 3rd

Dep’t 1998) (“CPLR 214[5] is New York’s limitation period governing general personal injury

actions and, therefore, a three-year Statute of Limitations applies to State constitutional tort

claims.”); see also Perkins v. City of New York, 18-CV-0477, 2018 WL 1318992, at *2

(E.D.N.Y. Mar. 14, 2018) (“Plaintiff’s state constitutional tort claims are subject to a three-year

statute of limitations.”); Williams v. New York, 52 Misc.3d 1224(A) (N.Y. Ct. of Claims 2012)

(“Claims for conscious pains and suffering based on negligence and claims alleging

constitutional torts are governed by CPLR § 214[5], which requires that such actions be

commenced within three years of the date of the injury.”); Frederick v. New York, 23 Misc.3d

1008, 1011 (N.Y. Ct. of Claims 2009) (noting that the statute of limitations for a “constitutional

tort for violation of Claimant’s rights” is three years under N.Y. C.P.L.R.§ 214[4]). The New

York Court of Appeals has stated that “[a] constitutional tort is any action for damages for


                                                   5
      Case 6:16-cv-01131-GTS-TWD Document 77 Filed 02/28/19 Page 6 of 6



violation of a constitutional right against a government or individual defendants.” Brown v. New

York, 89 N.Y.2d 172, 177 (N.Y. 1996). Plaintiff’s state right-to-counsel claim is therefore a

constitutional tort and is subject to the three-year statute of limitations in N.Y. C.P.L.R. § 214.

       Plaintiff’s claim accrued on November 14, 2014 (the date that he was arrested and

allegedly denied access to counsel) and his Complaint was filed on September 14, 2016, less

than two years later. Because Plaintiff therefore filed the Complaint within three years of the

accrual of his state law right-to-counsel claim, that claim is timely. The Court’s error in

assessing the statute of limitations is therefore harmless as to Plaintiff’s state law right-to-

counsel claim and Defendants’ motion must be denied to the extent it seeks dismissal of that

claim with prejudice.

       ACCORDINGLY, it is

       ORDERED that Defendants’ motion for reconsideration (Dkt. No. 70) is GRANTED in

part and DENIED in part: Plaintiff’s Twelfth Claim against Defendant Humphries in his

individual capacity remains DISMISSED without prejudice to refiling in New York State Court

within THIRTY (30) DAYS of this Decision and Order pursuant to 28 U.S.C. § 1367(d).

Dated: February 28, 2019
       Syracuse, NY
                                               ________________________________
                                               Hon. Glenn T. Suddaby
                                               Chief U.S. District Judge




                                                   6
